Case:19-01117-MER Doc#:15 Filed:07/23/19                   Entered:07/23/19 13:59:09 Page1 of 5




                            UNITED STATES BANKRUPTCY COURT
                                            District of Colorado

                                                                   |
In re:                LAKE LOVELAND DERMATOLOGY,                   |      Case No.
                      P.C.                                         |      19-11659 MER
                                Debtor.                            |
                                                                   |      Chapter
                                                                   |      11
                      LAKE LOVELAND DERMATOLOGY,                   |
                      P.C.                                         |
                      SKIN, P.C.                                   |
                      KEVIN JOHN MOTT                              |
                                                                   |
                                    Plaintiffs                     |      Adv. Proc. No.
                                                                   |      19-01117-MER
                      v.                                           |
                                                                   |
                      PATRICK LILLIS                               |
                      TRACY AMICK                                  |
                                                                   |
                                    Defendants.                    |


            JOINT DISCOVERY REPORT PURSUANT TO ORDER
    FOR COMPLIANCE WITH FED. R. BANKR. P. 7026 (Fed. R. Civ. P. 26(a) and (f))


          Plaintiffs Lake Loveland Dermatology, P.C., Skin, P.C., and Kevin John Mott

(“Plaintiffs”), and Defendants Patrick Lillis and Tracy Amick (“Defendants”), for their Joint

Discovery Report Pursuant to the Court’s Order for Compliance with Fed. R. Bankr. P. 7026 (Fed.

R. Civ. P. 26(a) and (f), state:

          1.          Confer and Discuss/Initial Disclosures.      The parties have discussed matters

pursuant to Fed. R. Bankr. P. 7026, Fed. R. Civ. P. 26 and L.B.R. 7026-1. Lake Loveland

Dermatology, P.C.’s and Patrick Lillis’ and Tracy Amick’s initial disclosures under Fed. R. Civ.

P. 26(a)(1) were made on July 9, 2019. Skin, P.C.’s, and Kevin John Mott’s initial disclosures

will be largely the same as those of Lake Loveland Dermatology, P.C. Skin, P.C. and Kevin John



{00652968.DOCX / 1}
       Case:19-01117-MER Doc#:15 Filed:07/23/19                 Entered:07/23/19 13:59:09 Page2 of 5




        Mott will file a confirmation of the same or their own initial disclosures on or before July 31,

        2019.

                2.     Amended Pleadings. The parties propose that any motions to amend or supplement

        pleadings or to join additional parties must be filed on or before August 7, 2019, and that this

        deadline pertains to timing only; the parties must comply with Fed. R. Civ. P. 15(a).

                3.     Discovery. The parties agree that discovery must be COMPLETED by February

        7, 2020. “Completed” means that all depositions have been conducted and responses to written

        discovery have been submitted on or before the discovery completion date.               Accordingly,

        interrogatories, requests for production of documents, and requests for admission shall be served

        at least forty-five (45) days before the discovery cutoff date. There shall be no modification to the

        presumptive numbers of depositions, interrogatories, or discovery requests.

                4.     Expert Witnesses. The parties propose that disclosures and written expert reports

        required by Fed. R. Civ. P. 26(a)(2)(B) shall be made and exchanged on or before January 10,

        2020. The parties agree that evidence intended solely to contradict or rebut evidence on the same

        subject matter identified by another party under Fed. R. Civ. P. 26(a)(2)(B) must be disclosed on

        or before February 10, 2020. The parties shall be limited to three expert witnesses per side.

        Expert discovery shall be completed by February 28, 2020.

                5.     Duty to Supplement; Sanctions. The parties agree that all disclosures and responses

        to discovery shall be timely supplemented pursuant to Fed. R. Civ. P. 26(e). Failure to timely

        disclose, or disclosures that are incomplete, false or misleading, may result in sanctions under Fed.

        R. Civ. P. 37(c).

                6.     Dispositive Motions. The parties agree that dispositive motions, if any, must be

        filed on or before February 28, 2020. Any response to a dispositive motion shall be filed with




{00652968.DOCX / 1}                        2
       Case:19-01117-MER Doc#:15 Filed:07/23/19                 Entered:07/23/19 13:59:09 Page3 of 5




        the Court and served upon opposing parties pursuant to the Local Bankruptcy Rules. Replies shall

        be allowed only upon leave of Court and pursuant to the Local Bankruptcy Rules.



               7.      Pretrial Conference.     A final pretrial conference will be held in this case

        on___________at _______o’clock__________m. A Final Pretrial Order shall be prepared by the

        parties and submitted to the court no later than seven (7) days before the final pretrial conference.

               8.      Trial. The parties believe that trial in this matter will last no more than five days.



         DATED this _____________ day of July, 2019.

                                                               BY THE COURT:

                                                               ______________________________
                                                               Michael E. Romero, Chief Judge
                                                               United States Bankruptcy Court




{00652968.DOCX / 1}                        3
       Case:19-01117-MER Doc#:15 Filed:07/23/19   Entered:07/23/19 13:59:09 Page4 of 5




                                         Respectfully submitted,

                                         Allen Vellone Wolf Helfrich & Factor P.C.

                                         /s/Jordan Factor
                                         Jordan Factor, Esq.
                                         Michael Gilbert, Esq.
                                         Jeremy T. Jonsen, Esq.
                                         1600 Stout Street, Suite 1100
                                         Denver, Colorado 80202
                                         Phone Number: (303) 534-4499
                                         jfactor@allen-vellone.com
                                         mgilbert@allen-vellone.com
                                         jjonsen@allen-vellone.com

                                         COUNSEL FOR LAKE LOVELAND
                                         DERMATOLOGY, P.C.

                                         Kutner Brinen, P.C.

                                         /s/ Lee M. Kutner
                                         Lee M. Kutner, Esq.
                                         1660 Lincoln Street, Suite 1850
                                         Denver, CO 80264
                                         Phone Number: (303) 832-2400
                                         lmk@kutnerlaw.com

                                         COUNSEL FOR SKIN, P.C.

                                         Goff & Goff LLC

                                         /s/ Lance J. Goff
                                         Lance J. Goff, Esq.
                                         3015 47th Street, Suite E-1
                                         Boulder, CO 80301
                                         Phone Number: (303) 415-9688
                                         lance@goff-law.com

                                         COUNSEL FOR KEVIN JOHN MOTT




{00652968.DOCX / 1}              4
       Case:19-01117-MER Doc#:15 Filed:07/23/19   Entered:07/23/19 13:59:09 Page5 of 5




                                         Senn Visciano Canges P.C.

                                         /s/ Frank W. Visciano______________
                                         Frank Visciano
                                         1700 Lincoln Street, Suite 4300
                                         Denver, CO 80203
                                         Phone Number: (303) 298-1122
                                         fvisciano@sennlaw.com


                                         Markus Williams Young & Hunsicker LLC

                                         /s/Matthew T. Faga______________
                                         Matthew T. Faga
                                         Jennifer M. Salisbury
                                         1700 Lincoln Street, Suite 4500
                                         Denver, CO 80203
                                         Phone Number: (303) 318-0120
                                         mfaga@markuswilliams.com
                                         jsalisbury@markuswilliams.com

                                         CO-COUNSEL FOR DEFENDANTS




{00652968.DOCX / 1}              5
